             Case 2:19-cv-00239-GMS Document 49 Filed 10/21/20 Page 1 of 3



1    LAW OFFICES OF THOMAS M. CONNELLY
2
     Thomas M. Connelly (Az. Bar. No. 012987)
     6720 North Scottsdale Road, Suite 305
3    Scottsdale, Arizona 85253
4
     Phone: (602) 957-1993
     Facsimile: (602) 957-2137
5    Tconnelly2425@aol.com
6
     LAW OFFICES OF THOMAS J. MARLOWE
7    Thomas J. Marlowe (Az. Bar No. 016640)
     6720 North Scottsdale Road, Suite 305
8
     Scottsdale, Arizona 85253
9    Phone: (602) 957-1993
     Facsimile: (602) 957-2137
10
     Tmarlowe2425@outlook.com
11
     Attorneys for Bardwell Defendants
12

13                       IN THE UNITED STATES DISTRICT COURT
14
                                   DISTRICT OF ARIZONA
15

16   Ronald H. Pratte,                               Case No.: 2:19-cv-00239-PHX-GMS

17                 Plaintiff,
18                                           DEFENDANTS’ UNOPPOSED
     vs.
                                             MOTION TO CONTINUE ONE OF
19                                           TWO REBUTTAL DISCLOSURE
     Jeffrey Bardwell and Fanny F. Bardwell,
20                                           DATES
     husband and wife,
21
                   Defendants.
22
            Defendants, by and through undersigned counsel, hereby request the Court
23
     continue the date by which their rebuttal expert opinion on damages is due to be disclosed
24
     for the reasons stated herein and for a period of approximately (2) business days.
25

26          Plaintiff has (2) experts, a tax expert, and a damages expert. Defendants too have
27   a tax expert. Expert reports (3 in total) by both parties have been disclosed. The only
28   remaining reports are rebuttal expert opinions. The Parties will be exchanging tax expert



                                                 1
                Case 2:19-cv-00239-GMS Document 49 Filed 10/21/20 Page 2 of 3



1
     rebuttal reports on Friday, October 23, 2020 as Ordered. The only remaining report is
2
     Defendants’ rebuttal report related to damages. No other reports are authorized.
3

4              This final expert report, i.e., Defendants’ rebuttal opinion on damages, is also due
5    to be disclosed on Friday, October 23, 2020. Recently the undersigned was informed that
6    Defendants’ damages rebuttal expert was seriously injured in a recreational accident
7    occurring out-of-state. The expert suffered serious fractures involving an out-of-state
8    hospital stay. The expert has advised that they anticipate being able to prepare the report
9    for disclosure with a brief extension and believe they will be able to provide a completed
10   report by Tuesday, October 27, 2020. As there are no other reports to be disclosed, it is
11   anticipated that this brief delay will not otherwise cause any issues with the remaining
12
     portions of the Court’s scheduling Order.
13
               Defendants have conferred with Plaintiff’s counsel, Mr. Collins, who has no
14
     opposition to this brief extension request related to the disclosure of the rebuttal opinion
15
     on damages.
16

17             Accordingly, Defendants’ request the Court grant the brief extension set forth
18   herein.
19
     DATED this 21st day of October, 2020.
20

21                                         By: /s/ Thomas J. Marlowe
                                           LAW OFFICES OF THOMAS J. MARLOWE
22                                         Thomas J. Marlowe
23                                         6720 N. Scottsdale Road, Suite 305
                                           Scottsdale, Arizona 85253
24                                         Phone: (602) 957-1993
25                                         Tmarlowe2425@outlook.com

26

27

28




                                                    2
              Case 2:19-cv-00239-GMS Document 49 Filed 10/21/20 Page 3 of 3



1                                CERTIFICATE OF SERVICE
2
             I, Thomas J. Marlowe, hereby certify that on October 21, 2020, I electronically
3

4
     transmitted the foregoing document to the Clerk’s Office using the ECF system for filing

5    and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this
6
     case.
7
     By: /s/ Thomas J. Marlowe
8

9    Gregory B. Collins
     Eric B. Hull
10
     Kercsmar & Feltus PLLC
11   7150 E. Camelback Road, Ste. 285
     Scottsdale, Arizona 85251
12   gbc@kflawaz.com
13   ebh@kflawaz.com
     Attorneys for Plaintiff
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                  3
